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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


    IN RE: NATIONAL PRESCRIPTION                   MDL No. 2804
    OPIATE LITIGATION
                                                   Case No. 17-md-2804
    This Document Relates to:
                                                   Judge Dan A. Polster
    All Cases Naming Auburn Pharmaceutical
    Company as a Defendant, as Reported
    Herein


                                    STATUS REPORT
                          OF AUBURN PHARMACEUTICAL COMPANY

          Defendant Auburn, by its undersigned attorneys, respectfully submits this Status Report.

Auburn has provided the market share data for the jurisdiction in which each Plaintiff has sued

the Defendant. It has also sent each Plaintiff that has sued it a letter demonstrating that Auburn

is not a viable Defendant and its inclusion as a Tier 3 Defendant only weakens and dilutes the

strength of each Plaintiff’s case in this Lawsuit and has received voluntarily dismissals by multiple

Plaintiffs. Counsel for Auburn has also reached out to Peter Weinberger to attempt to secure

additional voluntary dismissals.



          Dated: October28, 2024                      Respectfully Submitted,

                                                      /s/ James C. Wright___________
                                                      James C. Wright, Attorney at Law
                                                      Zausmer, PC
                                                      32255 Northwestern Highway
                                                      Suite 225
                                                      Farmington Hills, MI 48334
                                                      (248) 851-4111
                                                      Fax: (248) 851-0100
                                                      jwright@zausmer.com
                                                      Ohio Bar Number 00809070




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                                  CERTIFICATE OF SERVICE

       I certify that the foregoing was electronically filed on October 28, 2024, with the Clerk of
Court using the CM/ECF notification system thereby giving notice to all counsel of record.



                                                                  /s/ James C. Wright         .
                                                             James C. Wright, Attorney at Law




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